Case 1:19-cr-00098-CMA Document 72-1 Filed 11/01/19 USDC Colorado Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-cr-00098-CMA-01

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1. LEONARD LUTON,

       Defendant.


 ORDER ON THE UNITED STATES’ UNOPPOSED MOTION FOR ORDER THAT ALL
           SERVED TRIAL SUBPOENAS REMAIN IN EFFECT FOR
                  THE FEBRUARY 10, 2020 TRIAL DATE


       This matter comes before the Court on the United States’ Unopposed Motion for

 Order that All Served Trial Subpoenas Remain in Effect for the February 10, 2020 Trial

 Date, ECF 72.

       Having reviewed this motion, it is HEREBY ORDERED THAT:

       All trial subpoenas previously served in this case, whether by the government or

 the defense, shall remain in effect for the February 10, 2020 trial date.

       Dated this _____ day of _______ ______, 2019.


                                          BY THE COURT:



                                          __________________________________
                                          Christine M. Arguello
                                          United States District Court Judge
